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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   AMAZON.COM, INC. and AMAZON
   DATA SERVICES, INC.,

                 Plaintiffs,

          v.

   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN
   WATSON; STERLING NCP FF, LLC;
                                                       CASE NO. 1:20-CV-484-RDA-TCB
   MANASSAS NCP FF, LLC; NSIPI
   ADMINISTRATIVE MANAGER; NOVA
   WPC LLC; WHITE PEAKS CAPITAL LLC;
   VILLANOVA TRUST; CASEY
   KIRSCHNER; ALLCORE DEVELOPMENT
   LLC; FINBRIT HOLDINGS LLC;
   CHESHIRE VENTURES LLC; CARLETON
   NELSON; JOHN DOES 1-20,

                 Defendants.


            MOTION TO INTERVENE FILED BY WILMINGTON TRUST,
          NATIONAL ASSOCIATION, AS TRUSTEE FOR THE REGISTERED
        HOLDERS OF THE BANCORP COMMERCIAL MORTGAGE 2019-CRE6
        TRUST, COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES

         Wilmington Trust, National Association, as Trustee for the Registered Holders of the

  Bancorp Commercial Mortgage 2019-CRE6 Trust, Commercial Mortgage Pass-Through

  Certificates (the “Lender”), by and through CWCapital Asset Management LLC, solely in its

  capacity as Special Servicer, hereby moves pursuant to Fed. R. Civ. P. 24 for entry of an order

  authorizing it to intervene in the captioned lawsuit (the “Amazon Litigation”) for the limited

  purpose of moving the Court to modify the Order Appointing Receiver and Ordering Turnover of

  Property to the Receiver entered by the Court on November 23, 2021 [Docket No. 443] (the

  “Receiver Order”). The undersigned further certifies that counsel for the movant has conferred
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  with counsel to Mark Roberts, the receiver previously appointed by the Court, to narrow the issues

  and the receiver does not consent to the relief requested by the Lender. In support of this motion,

  movant directs the Court to the accompanying memorandum of law.

  Dated: August 24, 2022                /s/ Michael W. Robinson
                                        Michael W. Robinson, Esq.
                                        (VSB No. 26522)
                                        VENABLE LLP
                                        8010 Towers Crescent Drive, Suite 300
                                        Tysons, VA 22182
                                        Phone: (703) 760-1988
                                        Fax: (703) 821-8949
                                        mwrobinson@venable.com

                                        Frederick W. H. Carter, Esq.
                                        (VSB No. 80204)
                                        VENABLE LLP
                                        600 Massachusetts Avenue, NW
                                        Washington, DC 20001
                                        Phone: (202) 344-8191
                                        Fax: (202) 344-8300
                                        fwhcarter@venable.com

                                        Attorneys for Wilmington Trust, National Association, as
                                        Trustee for the Registered Holders of the Bancorp
                                        Commercial Mortgage 2019-CRE6 Trust, Commercial
                                        Mortgage Pass-Through Certificates, by and through
                                        CWCapital Asset Management LLC, solely in its capacity as
                                        Special Servicer




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 24, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system and I served a copy the document upon the following party

  via U.S. mail to their last-known address:

         77 Sugar Creek DE, LLC
         c/o The Corporation Trust Company,
          Registered Agent
         1209 Orange Street
         Wilmington, DE 19801


                                        /s/ Michael W. Robinson
                                        Michael W. Robinson, Esq.
                                        (VSB No. 26522)
                                        VENABLE LLP
                                        8010 Towers Crescent Drive, Suite 300
                                        Tysons, VA 22182
                                        Phone: (703) 760-1988
                                        Fax: (703) 821-8949
                                        mwrobinson@Venable.com

                                        Frederick W. H. Carter, Esq.
                                        (VSB No. 80204)
                                        VENABLE LLP
                                        600 Massachusetts Avenue, NW
                                        Washington, DC 20001
                                        Phone: (202) 344-8191
                                        Fax: (202) 344-8300
                                        fwhcarter@Venable.com

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